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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (CTG)
                                                                     )
                              Debtors.                               )     (Jointly Administered)
                                                                     )

                   FIRST SUPPLEMENTAL DECLARATION OF
              PATRICK J. NASH, JR. IN SUPPORT OF THE DEBTORS’
             APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
         THE RETENTION AND EMPLOYMENT OF KIRKLAND & ELLIS LLP
      AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
     DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF AUGUST 6, 2023

             I, Patrick J. Nash, Jr., being duly sworn, state the following under penalty of perjury:

             1.     I am the president of Patrick J. Nash, Jr., P.C., a partner of the law firm of Kirkland

& Ellis LLP, located at 300 North La Salle Street, Chicago, Illinois 60654, and a partner of

Kirkland & Ellis International, LLP (together with Kirkland & Ellis LLP, collectively,

“Kirkland”). 2 I am one of the lead attorneys from Kirkland working on the above-captioned

chapter 11 cases. I am a member in good standing of the Bar of the State of Illinois, and I have

been admitted to practice in the U.S. Court of Appeals for the Sixth Circuit, the U.S. District Court

for the Northern District of Illinois, and the U.S. District Court for the Eastern District of Michigan.

There are no disciplinary proceedings pending against me.

             2.     On August 6, 2023 (the “Petition Date”), each of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed a petition with this Court under chapter 11


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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.

2
      Capitalized terms used but not otherwise defined herein shall have the meaning as set forth in the Application.
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of title 11 of the United States Code (the “Bankruptcy Code”). On August 30, 2023, the Debtors

filed an application to employ and retain Kirkland as counsel for the Debtors [Docket No. 371]

(the “Application”) 3 pursuant to sections 327(a) and 330 of the Bankruptcy Code, rules 2014(a)

and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

rules 2014-1 and 2016-1 of the Local Bankruptcy Rules for the District of Delaware (the “Local

Rules”).

          3.     My declaration in support of the Application (the “Original Declaration”) was

attached to the Application as Exhibit B.

          4.     In connection with the Application, I submit this supplemental declaration

(this “Supplemental Declaration”) to provide additional disclosures in response to a request made

by the U.S. Trustee and in accordance with Bankruptcy Rules 2014(a) and 2016(b). Unless

otherwise stated in this Supplemental Declaration, I have personal knowledge of the facts set forth

herein.

          5.     In paragraph 25 of the Original Declaration, I disclosed that Motus LLC, a vendor

of the Debtors, is a portfolio company of Thoma Bravo LP, and that Thoma Bravo represented

more than one percent of Kirkland’s fee receipts for the twelve-month period ending on July 31,

2023. For the avoidance of doubt, Thoma Bravo LP is not involved in these chapter 11 cases, but

was disclosed out of an abundance of caution because one of its portfolio companies, Motus LLC,

is a vendor of the Debtors. Kirkland has represented Thoma Bravo and Motus LLC in various

matters unrelated to these chapter 11 cases issues.

          6.     In paragraphs 58 and 59 of the Original Declaration, I identified that certain

Kirkland attorneys are screened for purposes of protecting confidential information and isolating


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                                                         2
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conflicts. Upon further review, I do not believe that there are any additional Kirkland attorneys

that need to be screened due to previous or current representation of clients adverse to the Debtors.

Aside from the three individuals explicitly identified in paragraphs 55 through 57 of the Original

Declaration, it is my understanding that no other Kirkland attorney currently has a connection to

the Debtors for purposes of the retention of Kirkland in these chapter 11 cases.



                           [Remainder of page intentionally left blank]




                                                 3
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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

 Dated: September 21, 2022                          Respectfully submitted,

                                                 /s/ Patrick J. Nash, Jr.
                                                Patrick J. Nash, Jr.
                                                as President of Patrick J. Nash, Jr., P.C., as
                                                Partner of Kirkland & Ellis LLP; and as Partner
                                                of Kirkland & Ellis International LLP




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